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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:05CR163

       vs.
                                                                        ORDER
JAZMIN CERNA,

                      Defendant.


       Defendant Jazmin Cerna appeared before the court on March 30, 2015 on a Second
Petition for Warrant or Summons for Offender Under Supervision [483]. The defendant was
represented by Assistant Federal Public Defender Karen M. Shanahan on behalf of Julie B.
Hansen, and the United States was represented by Assistant U.S. Attorney Douglas J. Amen on
behalf of Thomas J. Kangior. Through her counsel, the defendant waived her right to a probable
cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for
detention. Through counsel, the defendant declined to present any evidence on the issue of
detention and otherwise waived a detention hearing. Since it is the defendant’s burden under 18
U.S.C. § 3143 to establish by clear and convincing evidence that she is neither a danger to the
community nor a flight risk, the court finds the defendant has failed to carry her burden and that
she should be detained pending a dispositional hearing before Chief Judge Smith Camp.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on April 9, 2015 at 9:30 a.m. Defendant must be present in person.
       2.      The defendant, Jazmin Cerna, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 30th day of March, 2015

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




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